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                              1   LOEB & LOEB LLP
                                  DAVID GROSSMAN (SBN 211326)
                              2   dgrossman@loeb.com
                                  JENNIFER JASON (SBN 274142)
                              3   jjason@loeb.com
                                  10100 Santa Monica Blvd., Suite 2200
                              4   Los Angeles, CA 90067
                                  Telephone: 310.282.2000
                              5   Facsimile: 310.282.2200
                              6   LOEB & LOEB LLP
                                  JONATHAN ZAVIN (Admitted pro hac vice)
                              7   jzavin@loeb.com
                                  345 Park Avenue
                              8   New York, NY 10154
                                  Telephone: 212.407.4000
                              9   Facsimile: 212.407.4990
                           10     Attorneys for Plaintiffs
                                  PARAMOUNT PICTURES
                           11     CORPORATION and CBS STUDIOS
                                  INC.
                           12
                           13                              UNITED STATES DISTRICT COURT
                           14                             CENTRAL DISTRICT OF CALIFORNIA
                           15
                           16     PARAMOUNT PICTURES                      Case No.: 2:15-cv-09938-RGK-E
                                  CORPORATION, a Delaware
                           17     corporation; and CBS STUDIOS INC.,
                                  a Delaware corporation,                 PLAINTIFFS’ OPPOSITION TO
                           18                                             DEFENDANTS’ MOTION TO
                                                 Plaintiffs,              DISMISS OR STRIKE IN PART
                           19                                             PLAINTIFFS’ FIRST AMENDED
                                           v.                             COMPLAINT
                           20
                                  AXANAR PRODUCTIONS, INC., a             Complaint Filed: 12/29/2015
                           21     California corporation; ALEC PETERS,
                                  an individual, and DOES 1-20,
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                                                 Defendants.
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                              1   I.       INTRODUCTION
                              2            CBS and Paramount are the copyright owners of the Star Trek Copyrighted
                              3   Works, which consist of six Star Trek television series, with more than 700 different
                              4   episodes, 12 motion pictures, various books, and other related products. Star Trek is
                              5   one of the most widely known science fiction entertainment franchises in the world.
                              6   The first television series was created and first broadcast in 1966, another Star Trek
                              7   motion picture will premiere this year, and a new Star Trek television series will
                              8   debut early next year. Star Trek consists of many interlocking fictional characters,
                              9   stories and worlds. Defendants, an individual and a production company, who own
                           10     absolutely no rights in Star Trek, created a twenty-minute Star Trek film and are in
                           11     the process of producing a full-length Star Trek motion picture, for which they
                           12     raised over $1 million. Defendants have attempted to recreate the entire look and
                           13     feel of Plaintiffs’ works and have stated that they are producing an authentic “Star
                           14     Trek film.” In order to create these infringing derivative works, Defendants have
                           15     used numerous Star Trek elements, including copyrighted characters, stories, sets,
                           16     costumes, etc., all without Plaintiffs’ consent.
                           17              Defendants’ primary attack on Plaintiffs’ Amended Complaint (the
                           18     “Complaint”) is that it does not “plausibly” state a claim for copyright infringement.
                           19     However, the Complaint is more than sufficient to survive a motion to dismiss under
                           20     the plausibility standard. It extensively details the ways in which Defendants’
                           21     works, Prelude to Axanar and the Axanar Motion Picture, infringe the Star Trek
                           22     Copyrighted Works, including by copying the characters, races and species,
                           23     costumes, dialogue, settings, and themes that are part of those works. Defendants
                           24     also argue that there are individual elements of Plaintiffs’ copyrighted works that
                           25     should not be deemed to be independently copyrightable. These arguments are not
                           26     appropriate at the motion to dismiss stage, nor are they applicable to this lawsuit.
                           27     For example, Defendants argue, incorrectly, that certain costumes copied in their
                           28     works are “useful articles,” but that doctrine has no application here, as Defendants

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                              1   are not selling clothing, but rather, are creating audio-visual works that
                              2   misappropriate Plaintiffs’ copyrighted characters, settings and plots. The Court will
                              3   later have an opportunity in this matter to address the similarities between the works
                              4   at issue and to determine whether Defendants have infringed Plaintiffs’ copyrights,
                              5   but Defendants’ motion to dismiss does not seek a ruling on the issue of substantial
                              6   similarity, and Defendants’ arguments regarding whether the Court should
                              7   eventually take specific elements alleged to have been infringed into account when
                              8   it conducts a substantial similarity analysis are, therefore, premature.
                              9            Defendants also argue that the allegations of the Complaint are not
                           10     sufficiently “definite.” It is unclear what Defendants are referring to as the
                           11     Complaint contains specific detail regarding which works have been infringed, and
                           12     which characters, settings, and other elements from Plaintiffs’ works have been
                           13     copied by Defendants. Further, Defendants’ argument in this regard is disingenuous
                           14     as they are admittedly and intentionally copying Plaintiffs’ films and television
                           15     shows and, prior to the filing of this lawsuit, Defendants promoted their works as
                           16     “Star Trek” films, and even took pride in the level of copying that they engaged in –
                           17     down to exact costumes taken from Plaintiffs’ television shows. Defendants’
                           18     conduct constitutes an unequivocal and wholesale misappropriation of Plaintiffs’
                           19     copyrights and the Complaint sufficiently specifies the infringing acts.
                           20              Finally, Defendants argue that the Complaint should be dismissed as
                           21     “premature,” but Defendants cannot deny that they have already created and
                           22     distributed numerous “Star Trek” works without Plaintiffs’ authorization. While
                           23     Defendants may intend to create and distribute additional infringing scenes or
                           24     works, that fact does not render the Complaint premature, nor a prior restraint, and
                           25     Plaintiffs respectfully request that the Court deny Defendants’ motion.
                           26     II.      THE FIRST AMENDED COMPLAINT
                           27              The original Star Trek television series (“The Original Series”) debuted in
                           28     1966 and ran for three seasons, until 1969. FAC ¶13. The Original Series

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                              1   chronicled the adventures of the U.S.S. Enterprise and its crew as they traveled
                              2   through space, and featured numerous original elements including the characters,
                              3   settings, planets, races and spacecraft that create the fabric of the Star Trek universe.
                              4   Id. In one of the episodes of The Original Series, James T. Kirk, the captain of the
                              5   U.S.S. Enterprise, meets his hero, Garth of Izar, a former Starship captain. FAC
                              6   ¶14. In that episode, Kirk and Garth discuss Garth’s victory in the Battle of Axanar.
                              7   FAC ¶14.
                              8            Plaintiffs have registered copyrights in The Original Series, as well as five
                              9   further Star Trek television series, totaling more than 700 episodes. FAC ¶ 15.
                           10     Plaintiffs also have copyrights in twelve Star Trek motion pictures (FAC ¶ 16), as
                           11     well as various books (FAC ¶ 19)(collectively the “Star Trek Copyrighted Works”).
                           12     Plaintiffs own the exclusive right to develop, create, and/or produce motion pictures,
                           13     televisions shows, and books based on the Star Trek Copyrighted Works. FAC ¶21.
                           14              Defendants have created works that are intended to be a “prequel” to The
                           15     Original Series, chronicling the Battle of Axanar and the conflicts between Klingons
                           16     and the Federation leading up to that point. The Complaint sufficiently alleges that
                           17     Defendants have created a work that infringes on the Star Trek Copyrighted Works
                           18     called Prelude to Axanar. FAC ¶22. According to Defendants’ Kickstarter
                           19     campaign, “Prelude to Axanar will be Star Trek like you have never seen it before,
                           20     showing the central characters of Axanar giving both a historical and personal
                           21     account of the war.” FAC ¶29 (emphasis added).
                           22              Plaintiffs also allege that Defendants are responsible for other works that
                           23     infringe the Star Trek Copyrighted Works, specifically, the Axanar Motion Picture
                           24     (collectively with Prelude to Axanar, the “Axanar Works”), and the underlying
                           25     script(s) for that Motion Picture. FAC ¶31. Defendants have already released a
                           26     scene from the Axanar Motion Picture that they call “the Vulcan Scene,” and
                           27     Plaintiffs have alleged on information and belief that Defendants have filmed at
                           28     least one other scene from the Axanar Motion Picture. FAC ¶32. According to

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                              1   Axanar Productions’ Facebook page, as of August 15, 2015, there was a “fully
                              2   revised and locked script” referred to as “the best Star Trek movie script ever!”
                              3   FAC ¶36. The Complaint asserts claims for copyright infringement, contributory
                              4   copyright infringement, vicarious copyright infringement, and declaratory judgment.
                              5   III.     ARGUMENT
                              6            A.    The Complaint Plausibly Alleges Copyright Infringement.
                              7            Defendants argue that the Court should dismiss the Complaint on the ground
                              8   that it does not “plausibly” allege infringement of Plaintiffs’ works. The Complaint,
                              9   however, states a clear and detailed claim for infringement of Plaintiffs’ copyrights,
                           10     identifying the numerous ways in which Defendants’ works have misappropriated
                           11     Plaintiffs’ copyrighted works.
                           12              A plaintiff bringing a claim for copyright infringement must show “(1)
                           13     ownership of a valid copyright, and (2) copying of constituent elements of the work
                           14     that are original.” Feist Pubs., Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361
                           15     (1991). Typically, courts conduct a substantial-similarity test to determine whether
                           16     works are substantially similar, which “focuses on articulable similarities between
                           17     the plot, themes, dialogue, mood, setting, pace, characters, and sequence of events in
                           18     the two works.” Funky Films, Inc. v. Time Warner Entm’t Co., L.P., 462 F.3d 1072,
                           19     1077 (9th Cir. 2006) (internal citations and quotations omitted). While Defendants
                           20     have argued that certain elements of Plaintiffs’ works are not subject to copyright,
                           21     they have not asked the Court to conduct a “substantial similarity” analysis between
                           22     Plaintiffs’ and Defendants’ works, or to dismiss Plaintiffs’ claims for lack of
                           23     substantial similarity. Rather, Defendants are asking the Court to “filter out” certain
                           24     elements from the substantial similarity analysis, an analysis that the Defendants
                           25     have not even requested. Further, whether an element is copyrightable depends on
                           26     the actual element as used in the copyrighted work, not on an abstract description of
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                              1   an element, and can only be done in an analysis of the work as a whole.1
                              2   Defendants’ entire argument regarding the various elements they do not believe
                              3   should be considered by the Court in later analyzing similarity is irrelevant and
                              4   premature.
                              5            Moreover, even if substantial similarity were at issue, Defendants have
                              6   deliberately recreated the Star Trek universe in order to create a derivative work (a
                              7   “prequel”), which they claim is a “Star Trek” film. In a situation like this, when
                              8   there is literal copying pervading a work, courts have found it to be unnecessary to
                              9   conduct a substantial similarity analysis. As explained by the Central District:
                           10              Usually a court would be required to undertake the extensive
                                           comparisons under the Kroft substantial similarity test to determine
                           11              whether Anderson’s work is a derivative work. See I M. Nimmer, §
                                           3.01 at 3-3; pgs. 25-28 supra. However, in this case, Anderson has
                           12              bodily appropriated the Rocky characters in his treatment. This Court
                                           need not determine whether the characters in Anderson’s treatment are
                           13              substantially similar to Stallone’s characters, as it is uncontroverted that
                                           the characters were lifted lock, stock, and barrel from the prior Rocky
                           14              movies. Anderson retained the names, relationships and built on the
                                           experiences of these characters from the three prior Rocky movies. 1
                           15              M. Nimmer, § 2.12 at 2-177 (copying names of characters is highly
                                           probative evidence of infringement). His characters are not merely
                           16              substantially similar to Stallone’s, they are Stallone’s characters. As
                                           Professor Nimmer stated, “Where there is literal similarity . . . . [i]t is
                           17              not necessary to determine the level of abstraction at which similarity
                                           ceases to consist of an ‘expression of ideas’ since literal similarity by
                           18              definition is always a similarity as to the expression of ideas.” 3 M.
                                           Nimmer, § 13.03[3], pg. 13-35. Anderson’s bodily appropriation of
                           19              these characters infringes upon the protected expression in the Rocky
                                           characters and renders his work an unauthorized derivative work. 1
                           20              Nimmer, § 2.12 at 2-171. By bodily appropriating the significant
                                           elements of protected expression in the Rocky characters, Anderson has
                           21              copied protected expression and his treatment infringes on Stallone’s
                                           copyrighted work.
                           22
                           23     Anderson v. Stallone, 1989 U.S. Dist. LEXIS 11109, Copy. L. Rep. (CCH) P22665
                           24     (C.D. Cal. Apr. 25, 1989); see also Engineering Dynamics, Inc. v. Structural
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                                          So, for example, the question is not whether “pointy ears” are copyrightable
                           27     in the abstract, but whether the specific pointy ears that are part of the fictitious and
                                  original Vulcan race and characters are a protected element as part of the larger
                           28     copyrightable elements in Star Trek.

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                              1   Software, Inc., 46 F.3d 408, 410 (5th Cir. 1995)(“[T]he more exact a duplication of
                              2   constituent pieces of a work the less overall similarity that may be required.”).
                              3            Here, as alleged in the Complaint, Defendants have lifted numerous specific
                              4   characters (such as Garth of Izar and Soval), settings (including several fictional
                              5   planets), races (such as Klingons and Vulcans), copyrighted vessels (such as the
                              6   U.S.S. Enterprise and other Federation and Klingon spaceships), dialogue and much
                              7   more. FAC ¶¶ 46-47. Defendants have bodily appropriated the Star Trek universe –
                              8   admittedly so in order to create an authentic prequel to The Original Series. The
                              9   Complaint adequately and “plausibly” alleges copyright infringement and
                           10     Defendants’ motion should be denied.
                           11              B.    The Star Trek Works are Copyrightable.
                           12              A work must be original to be protected by copyright, which means that it
                           13     “need not be new, but only original.” N. Coast Indus. v. Jason Maxwell, Inc., 972
                           14     F.2d 1031, 1033 (9th Cir. 1992). Courts view the work as a whole and do not
                           15     dissect copyrighted designs into separate components, because to do so would be
                           16     “akin to accepting the position that every song is merely a collection of basic notes,
                           17     every painting a derivative work of color and stroke, and every novel merely an
                           18     unprotected jumble of words.” Yurman Design, Inc. v. PAJ, Inc., 93 F. Supp. 2d
                           19     449, 457 (S.D.N.Y. 2000) (“[a]s the district court noted, if we took this argument
                           20     [that court was required to dissect copyrighted designs into separate components] to
                           21     its logical conclusion, we might have to decide that there can be no originality in a
                           22     painting because all colors or paint have been used somewhere in the past.”).
                           23              As the Tenth Circuit explained in the context of an analysis of a diagram,
                           24              Predictably, Warrick says the elements of Lippitt’s diagram—short
                                           labels, shapes, symbols, and selection of typeface—are not eligible for
                           25              copyright protection….
                           26              Warrick’s view misses the forest for the trees. Any copyrightable work
                                           can be sliced into elements unworthy of copyright protection. See
                           27              CMM Cable Rep, 97 F.3d at 1514. Books could be reduced to a
                                           collection of non-copyrightable words. Music could be distilled into a
                           28              series of non-copyrightable rhythmic tones. A painting could be

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                              1            viewed as a composition of unprotectable colors. Warrick’s impulse to
                                           unpack Lippitt’s diagram into ever-smaller and less-protectable
                              2            elements is understandable, as copyright jurisprudence tends toward
                                           dissection.
                              3
                                           Nevertheless, a limiting principle constrains this reductionism. We
                              4            must focus on whether Lippitt has “selected, coordinated, and
                                           arranged” the elements of her diagram in an original way. Feist
                              5            Publ’ns, 499 U.S. at 358; Knitwaves, Inc. v. Lollytogs Ltd., 71 F.3d
                                           996, 1004 (2d Cir. 1995); see also Feist Publ’ns, 499 U.S. at 349 (“[I]f
                              6            the selection and arrangement are original, these elements of the work
                                           are eligible for copyright protection.”).
                              7
                                           Enter. Mgmt. Ltd. v. Warrick, 717 F.3d 1112, 1118-19 (10th Cir. 2013).
                              8
                                           Here, Defendants attempt to dissect eight individual elements of the Star Trek
                              9
                                  Copyrighted Works – costumes, shapes, dialogue, elements from public domain,
                           10
                                  language, mood, scènes à faire, and characters—and Defendants argue that these
                           11
                                  elements are not copyrightable and, therefore, they ask the Court to strike them, or
                           12
                                  to dismiss Plaintiffs’ claims entirely. This is precisely the tactic that courts have
                           13
                                  admonished, because it “misses the forest for the trees.” Enter. Mgmt. Ltd., 717
                           14
                                  F.3d at 1119. Moreover, as explained below, Defendants’ arguments are misleading
                           15
                                  and disingenuous, as the doctrines they cite have no application to the infringement
                           16
                                  at issue in this case, and the individual elements are, in fact, copyrightable.
                           17
                                                 1.     Costumes.
                           18
                                           Costumes are considered by the court in their analysis of a character’s
                           19
                                  appearance. See, e.g., Metro-Goldwyn-Mayer, Inc. v. American Honda Motor Co.,
                           20
                                  900 F. Supp. 1287, 1298 (C.D. Cal. 1995)(“tuxedo-clad British-looking men”); Lone
                           21
                                  Wolf McQuade Assocs. v. CBS, 961 F. Supp. 587, 593 (S.D.N.Y. 1997)(“jeans and
                           22
                                  casual shirt, with or without a vest, with an attached shield”). Plaintiffs have
                           23
                                  properly alleged that Defendants have infringed various costumes of Plaintiffs,
                           24
                                  which are part of the analysis of whether Defendants have infringed Plaintiffs’
                           25
                                  characters. For example, the character Soval wears a gold robe with green drape
                           26
                                  containing stylized ancient script in both the Star Trek Copyrighted Works and in
                           27
                                  the Axanar Works. FAC ¶¶ 46-47.
                           28

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                              1            Defendants argue that claims for infringement of costumes fail because
                              2   clothing cannot be copyrighted under the useful articles doctrine. Motion at 6.
                              3   However, the costumes at issue are not “useful articles” – they are not being sold as
                              4   clothing. The costumes, hair and makeup that Defendants have depicted in order to
                              5   recreate the Star Trek Copyrighted Works are all part of the look and feel of the
                              6   characters that Defendants have misappropriated. The visual representations of
                              7   these fictional characters are by no means “useful articles” and Defendants’
                              8   specious argument should be rejected.
                              9            Defendants have also argued that the medals and designs they have replicated
                           10     on the costumes of Star Trek characters are merely “shapes,” but this case is not
                           11     about infringing “shapes;” it is about Defendants’ copying of Plaintiffs’ works and
                           12     characters, down to intricate details, such as the original designs of Starfleet medals.
                           13     See FAC ¶46. Further, shapes on articles of clothing are copyrightable. See Star
                           14     Fabrics, Inc. v. DKJY, Inc., 2014 U.S. Dist. LEXIS 2775 (C.D. Cal. Jan. 9, 2014).
                           15     Thus, even under Defendants’ misguided analysis, Plaintiffs’ allegations as to
                           16     medals and insignia on costumes are proper.
                           17                    2.    Dialogue.
                           18              Key lines of dialogue, even short phrases, are copyrightable. Universal City
                           19     Studios, Inc. v. Kamar Industries, Inc., 1982 U.S. Dist. LEXIS 15942, 217 U.S.P.Q.
                           20     (BNA) 1162, 1982 WL 1278 (S.D. Tex. 1982) (“I love you, E.T.” and “E.T. phone
                           21     home!”). Courts consider dialogue as part of the substantial similarity analysis.
                           22     Funky Films, Inc., 462 F.3d at 1077. Defendants’ motion argues that words and
                           23     short phrases are not protected. Motion at 7. However, Defendants are parsing the
                           24     issue too thinly – the issue is not whether various individual words are
                           25     copyrightable. Rather, Plaintiffs’ allegations show that: (1) Defendants have copied
                           26     and adopted dialogue from Plaintiffs’ Star Trek Copyrighted Works (such as
                           27     “beaming up”) and; (2) these words relate to and in some cases represent various
                           28     elements (such as characters). For example, Plaintiffs are not claiming that, by

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                              1   itself, the name “Garth of Izar” is copyrightable. They instead have alleged that this
                              2   character is a copyrighted element in the Star Trek universe. See Motion at 7.
                              3   Likewise, Vulcans are copyrighted characters, and Plaintiffs have unabashedly
                              4   copied those characters, down to the dialogue that relates to them (such as
                              5   discussions regarding “logic” and references to Vulcan lore and philosophy –
                              6   including the “Teachings of Surak”). See FAC ¶47.
                              7                  3.    Elements from the Public Domain and Nature.
                              8            Defendants assert that parties cannot claim copyright protection for elements
                              9   that are not original in and of themselves, such as works from a prior author or
                           10     works that are derived from nature. Motion at 7. This is a misrepresentation of the
                           11     law. In determining whether a work is eligible for copyright protection, courts focus
                           12     on whether the plaintiff has “selected, coordinated, and arranged” elements, which
                           13     are sometimes not in and of themselves copyrightable, in an original way. Enter.
                           14     Mgmt. Ltd., 717 F.3d at 1119 (citing Feist Publ’ns, 499 U.S. at 358). When a court
                           15     considers whether a party’s work is original and therefore copyrightable, it considers
                           16     the work in its entirety. Id.
                           17              Defendants argue that the word “Vulcan” can be traced to Roman mythology,
                           18     that the word “Federation” refers to a country “formed by separate states,” and that
                           19     the concept of a “phaser” is similar to weaponry mentioned in H.G. Wells’ War of
                           20     the Worlds. Motion at 7. Defendants’ arguments are frivolous. Plaintiffs do not
                           21     claim to own the copyright in these individual words. Moreover, this case does not,
                           22     and will not, involve issues relating to the “public domain.” Defendants have
                           23     infringed the Vulcan characters that were developed, and that are owned, by
                           24     Plaintiffs – not the Roman god of metalworking. Plaintiffs have also infringed the
                           25     specific expression of Plaintiffs’ United Federation of Planets (including the races in
                           26     that alliance) as well as Plaintiffs’ copyrighted ships and weaponry – such as
                           27     phasers, warp drives and dilithium crystals. Defendants, by their own admissions,
                           28     are seeking to replicate the entire fictional Star Trek universe, and they are

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                              1   incorporating Star Trek planets, characters, ships and settings in order to produce a
                              2   “prequel” to The Original Series. Defendants have intentionally copied Plaintiffs’
                              3   fictional characters, settings and plots, as well as the dynamics and conflicts
                              4   between various Star Trek races and characters. None of these elements are in the
                              5   “public domain,” and no discussion of public domain elements is necessary to
                              6   address whether Plaintiffs have sufficiently alleged copyright infringement.
                              7                  4.     Language.
                              8            Language is part of dialogue, which represents one aspect of the Star Trek
                              9   Copyrighted Works and may be considered (at a later point) in a substantial
                           10     similarity analysis. Funky Films, Inc., 462 F.3d at 1077. Defendants argue that the
                           11     Klingon language is not copyrightable because it is a useful system. Motion at 9.
                           12     Again, this issue is not yet before the Court – and certainly is not an issue to be
                           13     addressed on a motion to dismiss.
                           14              Moreover, this argument is absurd, since a language is only useful if it can be
                           15     used to communicate with people, and there are no Klingons with whom to
                           16     communicate. The Klingon language is wholly fictitious, original, and
                           17     copyrightable, and Defendants’ incorporation of that language in their works will be
                           18     part of the Court’s eventual substantial similarity analysis. Defendants’ use of the
                           19     Klingon language in their works is simply further evidence of their infringement of
                           20     Plaintiffs’ characters, since speaking this fictitious language is an aspect of their
                           21     characters.
                           22                    5.     Mood and Theme.
                           23              In considering whether works are substantiality similar, courts compare the
                           24     mood and theme of the two works. Funky Films, Inc., 462 F.3d at 1077. Plaintiffs
                           25     allege that their works and Defendants’ works are “science fiction action
                           26     adventures.” FAC ¶¶ 46-47. Defendants’ Motion argues that, by alleging this mood
                           27     and theme, Plaintiffs are seeking copyright protection of unprotectable ideas. See
                           28     Motion at 9-10.

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                              1            First, this argument is irrelevant at this stage as Defendants have not asked the
                              2   Court to conduct a similarity analysis. Second, the cases on which Defendants rely
                              3   are clearly distinguishable. In FASA Corp. v. Playmates Toys, Inc., 869 F. Supp.
                              4   1334, 1351 (N.D. Ill. 1994), the court noted the issue with the plaintiff’s “inability
                              5   or unwillingness to identify concrete details pertaining to the BATTLETECH
                              6   universe,” whereas here, the Complaint contains extensive detail as to the Star Trek
                              7   Copyrighted Works, identifying specific characters, settings, dialogue, and themes.
                              8   Likewise, in Ideal Toy Corp. v. Kenner Products Div. of General Mills Fun Group,
                              9   Inc., 443 F. Supp. 291, 304 (S.D.N.Y. 1977), the court explained that a plaintiff
                           10     cannot seek protection for themes, but only for expressions of themes. Here,
                           11     Plaintiffs are not seeking copyright protection of the theme of “science fiction action
                           12     adventure.” They have instead alleged the existence of similar themes between the
                           13     works at issue in order to show that, in addition to the characters, settings and other
                           14     elements copied by Defendants, Defendants have also copied the theme and tone
                           15     from Plaintiffs’ works.
                           16                    6.     Scènes A Faire.
                           17              The scènes à faire doctrine provides that “[f]amiliar stock scenes and themes
                           18     that are staples of literature are not protected.” Althouse v. Warner Bros. Entm’t,
                           19     2014 U.S. Dist. LEXIS 92071, Copy. L. Rep. (CCH) P30602 (C.D. Cal. Apr. 28,
                           20     2014). Defendants contend that various elements of Plaintiffs’ Star Trek
                           21     Copyrighted Works, such as starships and spacedocks are unprotectable because
                           22     they are “staples of science fiction.” Motion at 10. In Althouse, the court held that
                           23     “flying transports” were scènes à faire, and dismissed a claim when every single
                           24     allegation by the plaintiff was non-specific. Here, the Complaint is by no means
                           25     general and, instead, alleges numerous elements of creative expression that have
                           26     been misappropriated by Defendants. Plaintiffs have not alleged that Defendants
                           27     have taken vague elements that, in some way, resemble the Star Trek Copyrighted
                           28     Works – instead, Defendants have deliberately and painstakingly copied

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                              1   innumerable elements from across the entire Star Trek universe. Indeed, far from a
                              2   generalized assertion that Defendant have copied “flying transports,” Plaintiffs have
                              3   alleged that Defendants have created a virtually-identical visual representation of the
                              4   U.S.S. Enterprise. As shown below, Defendants have copied this ship in its entirety.
                              5   Defendants’ infringing work even copies the “NCC-1701” Starfleet registry number
                              6   on the underside of the vessel.
                              7
                              8
                              9
                           10
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                           14
                           15
                           16              Defendants have also copied, to a great level of detail, several other ships
                           17     used in the Star Trek Copyrighted Works, such as Klingon warships. FAC, ¶47.
                           18     Thus, Plaintiffs have not merely alleged that the general concepts of a “spaceship”
                           19     or a “spacedock” have been appropriated – the Complaint’s allegations show that
                           20     Defendants have misappropriated the expression of these concepts. Even assuming
                           21     that Defendants are properly dissecting the elements of the Star Trek Copyrighted
                           22     Works (and they are not), courts have held that vehicles like the Batmobile are
                           23     copyrightable as characters, and therefore, specific Star Trek starships are also
                           24     copyrightable. DC Comics v. Towle, 802 F.3d 1012 (9th Cir. 2015). Finally,
                           25     whether certain elements of Star Trek are scènes à faire is only relevant to a
                           26     substantial similarity analysis, which the Defendants have not asked the Court to do.
                           27     Thus, any determination of what, if anything, constitutes scènes à faire is premature.
                           28

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                              1                  7.     Characters.
                              2            Copyright protection is available for characters that are distinctive. Toho Co.,
                              3   Ltd. v. William Morrow and Co., Inc., 33 F. Supp. 2d 1206, 1215 (C.D. Cal. 1998);
                              4   Metro-Goldwyn-Mayer, Inc., 900 F. Supp. at 1296. Defendants argue that Plaintiffs
                              5   have not plausibly alleged that the characters in Plaintiffs’ Complaint are “especially
                              6   distinctive” with “widely identifiable traits.” Motion at 10.
                              7            Defendants rely on Olson v. NBC, 855 F.2d 1446, 1452 (9th Cir. 1988), but
                              8   Olson is plainly different from this case. First, Olson did not involve a ruling on a
                              9   motion to dismiss, but instead affirmed the granting of a judgment notwithstanding
                           10     the verdict. Further, in Olson, the plaintiff sued for copyright infringement, alleging
                           11     that the television show, “The A-Team,” infringed characters he created in a
                           12     treatment. The court rejected that claim, holding that the plaintiff’s characters were
                           13     not copyrightable because they were “depicted only by three- or four-line
                           14     summaries in the ‘Cargo’ treatment and screenplay, plus whatever insight into their
                           15     characters may be derived from their dialogue and action.” Here, on the other hand,
                           16     the Star Trek characters copied by Defendants appear in several movies and
                           17     television shows, as explained in the Complaint. FAC ¶¶ 46-47 (Soval has appeared
                           18     in several Enterprise episodes; Garth of Izar appeared in an episode of The Original
                           19     Series as well as in certain books). Thus, Plaintiffs’ characters are fully-formed, and
                           20     their audio-visual representations include their makeup, hair, costumes, mannerisms,
                           21     dialogue, language and actions – all of which Defendants have infringed. Plaintiffs
                           22     have sufficiently alleged infringement of these characters and the Court should
                           23     reject Defendants’ improper attempt to excise the infringed characters from this
                           24     lawsuit.
                           25
                           26
                           27
                           28

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                              1            C.    Plaintiffs Have Properly Pled Copyright Infringement.
                              2                  1.     Plaintiffs’ Claims Are Sufficiently Detailed As to Which
                              3                         Works Are Infringed.
                              4            “Copyright claims need not be pled with particularity.” Perfect 10, Inc. v.
                              5   Cybernet Ventures, Inc., 167 F. Supp. 2d 1114, 1120 (C.D. Cal. 2001); Clayton v.
                              6   Automated Gaming Techs., Inc., 2014 U.S. Dist. LEXIS 47003 (E.D. Cal. Apr. 2,
                              7   2014). Rather, it is sufficient to “simply alleg[e] present ownership by plaintiff,
                              8   registration in compliance with the applicable statute and infringement by
                              9   defendant.” Perfect 10, Inc., 167 F. Supp. 2d at 1120 (citation omitted).
                           10              In Perfect 10, the defendant moved to dismiss the plaintiff’s copyright claim
                           11     because the complaint did not state “every copyright relied on, every individual
                           12     image in the magazines that is being infringed, every image on specific web pages
                           13     that does infringe, or the dates of any infringement.” Id. at 1120. The court rejected
                           14     this argument, noting that “complaints simply alleging present ownership by
                           15     plaintiff, registration in compliance with the applicable statute and infringement by
                           16     defendant have been held sufficient under the rules.” Id. at 1120-21. See also 1
                           17     Nimmer on Copyright § 12.09 (“To avoid unwieldiness, courts have approved a
                           18     complaint that simply alleges representative acts of infringement, rather than a
                           19     comprehensive listing.”); Leadership Studies, Inc. v. Blanchard Training & Dev.,
                           20     Inc., 2016 U.S. Dist. LEXIS 28930 (S.D. Cal. Mar. 4, 2016)(plaintiffs not required
                           21     to plead with specificity every design, figure, and diagram at issue). This pleading
                           22     standard is consistent with the courts’ practice of analyzing infringement in the
                           23     aggregate when it comes to the analysis of several works in a group, such as to
                           24     analyze a television series with dozens of episodes as a single work. See, e.g.,
                           25     Castle Rock Entm’t, Inc. v. Carol Publ’g Grp., Inc., 150 F.3d 132, 138 (2d Cir.
                           26     1998)(analyzing in the aggregate the amount of expression copied from 84 Seinfeld
                           27     episodes).
                           28

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                              1            Here, the Complaint does more than enough to put Defendants on notice of
                              2   the claims against them, and which works are claimed to be infringed. It alleges
                              3   ownership of various Star Trek television series, motion pictures, and books. FAC
                              4   ¶¶ 13-19. The Complaint alleges in copious detail the extensive infringement by
                              5   Defendants of these Star Trek Copyrighted Works. It identifies specific Star Trek
                              6   television episodes, motion pictures, and books and specifies various elements from
                              7   the Axanar Works that copy the Star Trek Copyrighted Works. Id. It even provides
                              8   visual depictions of many of these elements. Id.
                              9            Defendants insist that Plaintiffs should be required to list each motion picture
                           10     and television series that is infringed upon by each element in the Axanar Works.
                           11     See Motion at 13. This is not what is required under Rule 8’s notice pleading
                           12     standard. See Perfect 10, Inc., 167 F. Supp. 2d at 1120. Defendants are on notice,
                           13     for example, that each time the U.S.S. Enterprise appears in their Axanar Works,
                           14     they are infringing upon each and every Star Trek Copyrighted Work in which the
                           15     U.S.S. Enterprise appears. Plaintiffs should not be required to identify at the
                           16     pleading stage each and every television episode in which this copyrighted element
                           17     appears. The information that Defendants seek can be elicited during the discovery
                           18     stage, and a motion to dismiss should not be used as a substitute for discovery
                           19     requests. Moreover, courts consider the aggregate of large groups of works when
                           20     performing the substantial similarity analysis rather than considering each work at a
                           21     time. See, e.g., Castle Rock Entm’t, Inc., 150 F.3d at 138.2
                           22
                                           2
                                           Defendants’ argument relies on cases where the plaintiff’s complaint was
                           23     vague and failed to identify any specific copyrighted work that was allegedly
                                  infringed upon. See Four Navy Seals & Jane Doe v. AP, 413 F. Supp. 2d 1136 (S.D.
                           24     Cal. 2005) (plaintiff attached a list of 1800 photographs and asserted that at least
                                  one “unidentified” photograph was distributed by the defendants, but never
                           25     identified which photograph); Universal Surface Tech., Inc. v. Sae-A Trading Am.
                                  Corp., 2011 U.S. Dist. LEXIS 10127 (C.D. Cal. Jan. 26, 2011)(plaintiff alleged “no
                           26     facts” as to what acts constitute infringement and no facts as to which copyrights
                                  were infringed); Synopsys, Inc. v. ATopTech, Inc., 2013 U.S. Dist. LEXIS 153089;
                           27     2013 Copy. L. Rep. (CCH) P30, 507 (N.D. Cal. October 24, 2013) (plaintiff alleged
                                  that the defendant infringed its copyrighted software, yet elsewhere in the complaint
                           28     the plaintiff contradicted itself by alleging that some parts of it software were “open-

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                              1            Defendants also assert that it is problematic for the Complaint to state that it
                              2   is identifying specific examples of infringing elements of the Axanar Works, rather
                              3   than limiting the infringement to the examples identified in the case. However, as
                              4   the Central District of California has held, “[r]equiring a statement of each and
                              5   every example would defeat the regime established by Rule 8.” Perfect 10, Inc.,
                              6   167 F. Supp. 2d at 1120. Defendants also improperly rely on cases in which courts
                              7   found that the defendants did not have “notice” of the claims because the complaints
                              8   were either vague or alleged that other, non-disclosed copyrights, were potentially
                              9   infringed. See Palmer Kane LLC v. Scholastic Corp., 2014 U.S. Dist. LEXIS 44881
                           10     (S.D.N.Y. Mar. 31, 2014)(complaint stated that list of copyrighted works was not
                           11     exhaustive); Cole v. John Wiley & Sons, 2012 U.S. Dist. LEXIS 108612 (S.D.N.Y.
                           12     Aug. 1, 2012)(complaint stated that the infringement was not limited to the list of
                           13     works in the complaint); Marshall v. McConnell, 2006 U.S. Dist. LEXIS 12319,
                           14     Copy. L. Rep. (CCH) P29161 (N.D. Tex. Mar. 23, 2006)(complaint never identified
                           15     any specific copyrights that were allegedly infringed upon); Rosenfeld v. Twentieth
                           16     Century Fox Film, 2008 U.S. Dist. LEXIS 92099 (C.D. Cal. Sept. 25, 2008)(the
                           17     complaint did not identify which works constituted the copyrights at issue). Here,
                           18     on the contrary, Plaintiffs have limited the universe of copyrighted works as those
                           19     included in the defined term “Star Trek Copyrighted Works.” All of these works
                           20     have been identified in the Complaint.
                           21                    2.     Allegations on Information and Belief Are Proper, Especially
                           22                           When the Facts are In the Defendants’ Control.
                           23              Contrary to Defendants’ assertion, Twombly does not prevent a plaintiff from
                           24     pleading facts alleged “upon information and belief,” particularly when those facts
                           25     are within the possession and control of the defendant. Keegan v. Am. Honda Motor
                           26
                                  source,” and therefore not copyrightable). Here, no such issue exists as Plaintiffs
                           27     have identified numerous specific Star Trek Copyrighted Works that have been
                                  infringed, including specific television episodes and motion pictures. See FAC
                           28     ¶¶ 46-47.

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                              1   Co, 838 F. Supp. 2d 929, 961 n.85 (C.D. Cal. 2012). Plaintiffs have based certain
                              2   allegations on information from Defendants’ website and social media postings. For
                              3   example, Plaintiffs allege, on information and belief, that defendant Alec Peters
                              4   wrote the Axanar Works and continues to write the Axanar Script and produce the
                              5   Axanar Motion Picture. FAC ¶ 9. This information is based on Defendants’ own
                              6   announcement on Facebook on August 15, 2015 that there was a “fully revised and
                              7   locked script,” with an image showing that Axanar was “written by Alec Peters.”
                              8   FAC ¶ 36. Unlike the cases on which Defendants rely, Plaintiffs’ allegations are
                              9   bolstered by specific facts, and many of these allegations are based on information
                           10     gleaned from Defendants’ public postings on social media.
                           11              D.    Plaintiffs’ Claims Are Not Premature.
                           12              The Complaint alleges that Defendants have created and released a film
                           13     entitled Prelude to Axanar, have prepared a script for the Axanar Motion Picture,
                           14     have released a scene from the Axanar Motion Picture, and have completed one
                           15     third of the visual effects from the Axanar Motion Picture. FAC ¶¶ 32, 36, 39, 42.
                           16     Defendants argue that Plaintiffs should have to wait until Defendants are finished
                           17     making all of their infringing materials prior to filing suit and that, otherwise, the
                           18     controversy is not ripe. They also claim that, by alleging a claim for injunctive
                           19     relief, Plaintiffs are impermissibly seeking a prior restraint. Motion at 16-20. As
                           20     explained below, courts have held, in nearly identical circumstances, that the
                           21     completed and transitory film elements already fixed in a tangible medium of
                           22     expression by Defendants constitute actionable material ripe for review, and that
                           23     requests for injunctions in the copyright context do not violate the First Amendment.
                           24                    1.     This Controversy is Ripe.
                           25              Ripeness prevents “theoretical” or “abstract” disputes. State ex rel. State
                           26     Water Resources Control Bd. v. FERC, 966 F.2d 1541, 1562 (9th Cir. 1992). Courts
                           27     have held that “transitory” film-making products render the copyright issues ripe for
                           28     the Court’s review. Walt Disney Prods. v. Filmation Assocs., 628 F. Supp. 871,

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                              1   875-76 (C.D. Cal. 1986)(script, models, designs, and promotional trailer were
                              2   actionable). In fact, in a case very similar to the case at bar, Danjaq, LLC v.
                              3   Universal City Studios, LLC, 2014 U.S. Dist. LEXIS 180264, Copy. L. Rep. (CCH)
                              4   P30673 (C.D. Cal. Oct. 2, 2014), the defendant moved to dismiss a copyright
                              5   infringement claim on the grounds that it had not finished a film, but had only
                              6   allegedly purchased the rights to a screenplay and hired writers, actors, and
                              7   producers for the project. The court denied the motion, holding that the claims were
                              8   ripe because the right to use the screenplay and the hiring of several people for the
                              9   development of the motion picture project were “transitory” film-making products.
                           10              Defendants argue that this lawsuit is premature with respect to the Axanar
                           11     Motion Picture because the entire movie has not yet been completed. Motion at 16-
                           12     19. The Motion fails to acknowledge that the Complaint alleges that Defendants
                           13     have already engaged in infringing conduct by producing and releasing Prelude to
                           14     Axanar, have completed an infringing “fully revised and locked script” for the
                           15     Axanar Motion Picture, and have already completed and disseminated a scene from
                           16     the Axanar Motion Picture. FAC ¶¶ 32-42. Defendants’ completed acts of
                           17     infringement, as well as their transitory products, such as scripts, are actionable,
                           18     making this case ripe for review. See Walt Disney Prods., 628 F. Supp. at 875-76;
                           19     Danjaq, LLC, 2014 U.S. Dist. LEXIS 180264, Copy. L. Rep. (CCH) P30673.
                           20              Defendants’ cases are also inapplicable to this dispute. See Clinton v.
                           21     Acequia, Inc., 94 F.3d 568 (9th Cir. 1996)(breach of contract claim was not ripe
                           22     because the defendant’s performance of the contract was not yet due); Portland
                           23     Police Asso. v. Portland, 658 F.2d 1272 (9th Cir. 1981)(claim was not ripe when
                           24     several contingencies needed to occur in order to violate the plaintiffs’ rights).
                           25     Likewise, Defendants misrepresent two other cases as being “analogous cases
                           26     seeking declaratory relief [where] courts have dismissed copyright claims as
                           27     premature.” Motion at 16, citing Sierra Applied Scis., Inc. v. Advanced Energy
                           28

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                              1   Indus., 363 F.3d 1361 (Fed. Cir. 2004) and Int’l Harvester Co. v. Deere & Co., 623
                              2   F.2d 1207 (7th Cir. 1980). These cases are patent cases, not copyright cases.3
                              3            Defendants misleadingly argue that courts have held that intermediary works
                              4   are not relevant to the substantial similarity analysis. However, these cases stand for
                              5   the proposition that courts generally will not consider intermediary works as
                              6   evidence that a later version of a work is infringing. See Motion at 19, citing to
                              7   Walker v. Time Life Films, Inc., 615 F. Supp. 430 (S.D.N.Y. 1985); See v. Durang,
                              8   711 F.2d 141 (9th Cir. 1983); Quirk v. Sony Pictures Entm’t Inc., 2013 U.S. Dist.
                              9   LEXIS 47954, 106 U.S.P.Q.2d (BNA) 2004 (N.D. Cal. Apr. 2, 2013). Those
                           10     authorities have no application here, where Plaintiffs have alleged that Defendants
                           11     have created and distributed infringing audio-visual works.
                           12              Defendants’ statement that they do not intend to (further) infringe Plaintiffs’
                           13     copyrights in the future is irrelevant, given that good faith is not an excuse to
                           14     infringe a copyright. Pye v. Mitchell, 574 F.2d 476, 481 (9th Cir. 1978). Moreover,
                           15     such statements are contrary to the allegations of the Complaint – which alleges that
                           16     Defendants have already engaged in numerous acts of infringement.
                           17                    2.     Injunctions in the Copyright Context Are Not A Violation of
                           18                           the First Amendment.
                           19              Plaintiffs have not filed a motion for injunctive relief and, therefore,
                           20     Defendants’ arguments regarding “prior restraint” are irrelevant and, at best,
                           21     premature. Defendants are no more “restrained” by the filing of the Complaint than
                           22
                                           3
                                           The copyright cases on which Defendants rely are also not on point. In
                           23     Veoh Networks, Inc. v. UMG Recordings, Inc., 522 F. Supp. 2d 1265 (S.D. Cal.
                                  2007), the plaintiff did not “reference any specific copyright” and therefore any
                           24     relief “would necessarily take the form of an advisory opinion.” In Team Angry
                                  Filmworks, Inc. v. Geer, 2016 U.S. Dist. LEXIS 36286 (W.D. Pa. Mar. 21, 2016),
                           25     the plaintiff failed to show any concrete steps towards producing its films, given that
                                  it did not allege that a screenplay had been written, nor did it contain specific or
                           26     even approximate allegations about when it could begin film production. Therefore,
                                  plaintiff was improperly seeking an opinion from the court advising what the law
                           27     would be on a hypothetical set of facts. Here, on the other hand, Defendants have
                                  already created infringing audio-visual works, have completed an infringing script
                           28     and additional production is already underway.

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                              1   they would be by the sending of a cease and desist letter. Without the filing of a
                              2   motion for an injunction, Defendants may proceed, but they do so at their own peril.
                              3            Further, courts have held that enjoining a defendant from continuing to
                              4   complete an infringing film is not an impermissible prior restraint. Walt Disney
                              5   Prods., 628 F. Supp. at 878 n.6 (“By distinguishing between copyrightable
                              6   expression and uncopyrightable facts and ideas, the Copyright Act itself embodies a
                              7   permissible balance between First Amendment protections and the protection of a
                              8   copyright holder’s rights.”). As noted by the Second Circuit: “We have repeatedly
                              9   rejected First Amendment challenges to injunctions from copyright infringement on
                           10     the ground that First Amendment concerns are protected by and coextensive with
                           11     the fair use doctrine.” Nihon Keizai Shimbun, Inc. v. Comline Bus. Data, 166 F.3d
                           12     65, 74-75 (2d Cir. 1999). Similarly, the Ninth Circuit has held that: “First
                           13     Amendment concerns in copyright cases are subsumed within the fair use inquiry.
                           14     In other words, if the use of the alleged infringer is not fair use, there are no First
                           15     Amendment prohibitions against granting a preliminary injunction.” Elvis Presley
                           16     Enterprises, Inc. v. Passport Video, 349 F.3d 622, 627 (9th Cir. 2003). Here,
                           17     enough of the Plaintiffs’ works have already been fixed in the Axanar Works for the
                           18     Court to determine, at the appropriate time, that there is no fair use.
                           19     IV.      CONCLUSION
                           20              For the foregoing reasons, Plaintiffs respectfully request that the Court deny
                           21     Defendants’ Motion to Dismiss or Strike.
                           22     Dated: April 11, 2016                    LOEB & LOEB LLP
                                                                           JONATHAN ZAVIN
                           23                                              DAVID GROSSMAN
                                                                           JENNIFER JASON
                           24
                                                                           By: /s/ David Grossman
                           25                                                  David Grossman
                                                                               Attorneys for Plaintiffs
                           26                                                  PARAMOUNT PICTURES
                                                                               CORPORATION and CBS STUDIOS
                           27                                                  INC.

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